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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA
                                                      Case No. 23-cr-239 (CKK)
                  v.

 ILYA LICHTENSTEIN, et al.,

                          Defendants.


                                           [Proposed] ORDER

        Upon consideration of the Motion for Leave to File Out of Time Motion to Intervene and

Ancillary Petition Pseudonymously and Partially Under Seal by Richard Roe, it is hereby

ORDERED that Movant’s motion is GRANTED and Movant’s Motion to File Out of Time

Motion to Intervene and Ancillary Petition shall be and remain SEALED; and it is

        FURTHER ORDERED that Movant must file partially redacted versions of its Motion to

Intervene and Ancillary Petition by _________________, 2025; and it is

        FURTHER ORDERED that any future filings by Movant that are publicly filed may be

filed using the pseudonym “Richard Roe”; and it is

        FURTHER ORDERED that Movant may proceed with its Ancillary Petition and any

other filings using the pseudonym “Richard Roe.” To the extent filings incorporate any real

names or other personal identifying information or specific account and asset information, that

information shall be redacted from the public filing with an unredacted copy filed under seal.



                                                    COLLEEN KOLLAR-KOTELLY
                                                    UNITED STATES DISTRICT JUDGE




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